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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA,
                                              Criminal No.: 1: 22-cr-00354-RCL-1 and 2

   -v-                                        DEFENDANTS MOTION TO
                                              CONTINUE TRIAL AND AMEND
   RICHARD SLAUGHTER, and                     SCHEDULING ORDER DUE TO
   CADEN GOTTFRIED,                           SUPERCEDING INDICTMENT

                       Defendants.



         COMES NOW Defendants Rick Slaughter and Caden Gottfried, by and through

undersigned counsel John Pierce, with this motion for an extension of time for

Defendants and Defense counsel to address, research and file pretrial motions

regarding the recent Superceding Indictment in this case.

1. The Defendants will waive speedy trial for this continuance.

2. Mr. Slaughter and Mr. Gottfried were arraigned this past week on a

superceding indictment alleging a new crime punishable by up to 20 years

imprisonment.

3. It appears the government’s new allegation involves a claim that defendant

Slaughter committed an assault on an officer with a deadly and dangerous

weapon.

4. Apparently the basis for this is an allegation that Slaughter handed a

cannister of some type of spray to another bystander, who, in turn, may have

later sprayed the cannister at an officer.

5. Mr. Slaughter needs time to investigate this claim in terms of the other
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individual and or a related prosecution.

6. The superseding indictment also clarifies that Slaughter and Gottfried are

alleged to have committed their 231 conduct separately. Thus there are now

a larger number of incidents or episodes at issue.

7. Additionally the government has submitted a “formal 404(b) notice” of intent

to introduce prior bad act evidence against the defendants.

8. Counsel needs at least another 60 days to study these extra claims and

information and prepare for trial.

9. This extra time will allow for counsel to prepare additional Rule 12 motions

relating to these new counts and evidence.

         Dated: October 25, 2023

                                                                      Respectfully Submitted,

                                                                           /s/ John M. Pierce
                                                                               John M. Pierce
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                                       CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, October 25, 2023, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                 /s/ John M. Pierce
                                                 John M. Pierce
